                   Case 5:24-cv-00573-XR         Document 25         Filed 01/15/25         Page 1 of 1
Name:
                                                                                              FILED
            Mark Anthony Ortega
Address: 152 Bedingfeld Dr
                                                                                          January 15, 2025
                                                                                        CLERK, U.S. DISTRICT COURT
San Antonio, TX 78231                                                                   WESTERN DISTRICT OF TEXAS

Phone Number: 210-744-9663                                                                          RR
                                                                                  BY: ________________________________
                                                                                                          DEPUTY
Email Address: mortega@utexas.edu
Pro Se
                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF TEXAS
MARK ORTEGA, INDIVIDUALLY AND ON                              CASE NUMBER
BEHALF OF ALL OTHERS SIMILARLY
SITUATED;                                                                      SA-24-CV-00573-XR
                                               PLAINTIFF(S)
                               v.
CORNERSTONE AUTO PROTECTION INC.                                        APPLICATION FOR PERMISSION
and CALL HANDLES, LLC                                                     TO FILE ELECTRONICALLY
                                              DEFENDANT(S)

  As the        Plaintiff      Defendant    in the above-captioned matter, I respectfully ask the Court for
  permission to participate in electronic filing ("e-filing") in this case. I hereby affirm that:
  1. I have reviewed the Administrative Policies and Procedures for Electronic Filing in Civil and Criminal Cases
     and the Local Court Rules available on the Court's website at www.txwd.uscourts.gov.

  2. I understand that once I register for e-filing, I will receive notices and documents in this instant case
     only by e-mail and not by U.S. mail.
  3. I understand that if my use of the Court's e-filing system is unsatisfactory, my e-filing privileges may be
     revoked and I will be required to file documents in paper, but will continue to receive documents via e-mail.
  4. I understand that I may not e-file on behalf of any other person in this case.

  5. I have regular access to the technical requirements necessary to e-file successfully:
      Check all that apply.
       ✔    A Computer with internet access.

       ✔    An email account on a daily basis to receive notifications from the Court and notices from the
            e-filing system.

       ✔    A scanner to convert documents that are only in paper format into electronic files.

       ✔    A printer or copier to create required paper copies such as chambers copies.

       ✔    A word-processing program to create documents; and

       ✔    A PDF reader and a PDF writer to convert word processing documents into PDF format, the only
            electronic format in which documents can be e-filed.

Date: 1/15/2025                                        Signature:      /s/ Mark Anthony Ortega

Created 04/20                       APPLICATION FOR PERMISSION TO FILE ELECTRONICALLY
